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15   Individual NFL Clubs
16
                                   UNITED STATES DISTRICT COURT
17
                                CENTRAL DISTRICT OF CALIFORNIA
18

19     IN RE: NATIONAL FOOTBALL                        Case No. 2:15-ml-02668−PSG (SKx)
20
       LEAGUE’S “SUNDAY TICKET”                        NFL DEFENDANTS’ MOTION IN
       ANTITRUST LITIGATION                            LIMINE NO. 6 TO EXCLUDE
21     ______________________________                  CERTAIN OPINIONS OF J.
                                                       DOUGLAS ZONA
22
       THIS DOCUMENT RELATES TO:                       Judge: Hon. Philip S. Gutierrez
23                                                     Date: February 7, 2024
       ALL ACTIONS
24                                                     Time: 2:30 p.m.
                                                       Courtroom: First Street Courthouse
25
                                                                  350 West 1st Street
26                                                                Courtroom 6A
                                                                  Los Angeles, CA 90012
27

28
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 1           The NFL Defendants respectfully move to exclude the testimony of J. Douglas
 2   Zona regarding his economic models pursuant to Federal Rules of Evidence 103, 104,
 3   and 702. Dr. Zona puts forth two models that purport to show that Sunday Ticket
 4   prices would have been lower if DirecTV had not been the sole distributor. Dr. Zona
 5   has substantially revised these two models with each successive report, such that this
 6   is Defendants’ first chance to challenge the versions he may offer at trial.
 7           As described below, Dr. Zona’s latest models, and the conclusions he draws
 8   from them, are unreliable and should be excluded. During the class certification
 9   stage, Defendants explained why the previous iterations of Dr. Zona’s models, and
10   the irrational results generated by those models, warranted exclusion. Defendants
11   respectfully submit that the flaws in Dr. Zona’s models warrant re-evaluation in light
12   of the recent amendments to Rule 702. Those amendments make even clearer that
13   Dr. Zona’s methodologies are unreliable and should be excluded. See Fed. R. Evid.
14   702 Advisory Committee’s Note to the 2023 amendment; In re Lithium Ion Batteries
15   Antitrust Litig., 2017 WL 1391491, at *6 (N.D. Cal. Apr. 12, 2017). And at a
16   minimum, Defendants seek to preserve their arguments as applied to Dr. Zona’s new
17   economic models.
18                                       LEGAL STANDARD
19           Under the newly amended Federal Rule of Evidence 702, an otherwise
20   qualified expert may testify only “if the proponent demonstrates to the court that it
21   is more likely than not that: . . . (b) the testimony is based on sufficient facts or data;
22   . . . and (d) the expert’s opinion reflects a reliable application of the principles and
23   methods to the facts of the case.” Fed. R. Evid. 702 (emphases added). The December
24   2023 amendments to Rule 702 were designed to remedy “incorrect application[s] of
25   Rules 702 and 104(a)” by “many courts [that] have held that the critical questions of
26   the sufficiency of an expert’s basis, and the application of the expert’s methodology,
27   are questions of weight and not admissibility.” Fed. R. Evid. 702 Advisory
28   Committee’s Note to the 2023 amendment.
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 1                                          ARGUMENT
 2   I.      Dr. Zona Impermissibly Assumes That The NFL Would Behave In An
             Economically Irrational Manner In The But-For World.
 3

 4           In a clear violation of Ninth Circuit precedent, Dr. Zona has failed to “presume
 5   the existence of rational economic behavior” by the NFL in his models of the but-for
 6   world. Dolphin Tours, Inc. v. Pacifico Creative Serv., Inc., 773 F.2d 1506, 1511 (9th
 7   Cir. 1985).
 8

 9                      ECF No. 962-34, Expert Merits Report of J. Douglas Zona (“Rep.”) ¶ 8.
10   In modeling these but-for worlds, Dr. Zona purports to “show what the competitive
11   prices would have been if there had been no antitrust violations.” Comcast Corp. v.
12   Behrend, 569 U.S. 27, 36 (2013). But his modeling fails to account for the NFL’s
13   “rational economic” incentive to maximize its own profits. Dolphin Tours, 773 F.2d
14   at 1511.
15           Binding precedent requires that Dr. Zona’s calculations of those “competitive
16   prices” reflect economic reality. In Murphy Tugboat Co. v. Crowley, for example, the
17   Ninth Circuit overturned a damages award in an antitrust trial because the plaintiff’s
18   economist had failed to account for the fact that the defendant would have cut its
19   prices if a new competitor had entered the market. 658 F.2d 1256, 1262 (9th Cir.
20   1981). The Ninth Circuit reasoned that “[i]n a hypothetical economic construction, .
21   . . economic rationality must be assumed for all competitors, absent the strongest
22   evidence of chronic irrationality.” Id. And because the plaintiff’s expert had
23   “indulge[d] in the assumption that a competitor would follow a course of behavior
24   other than that which it believed would maximize its profits,” id., the jury’s damages
25   award based on that expert’s work was nothing more than “unguided speculation,”
26   id. at 1263.
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 1              District courts in this Circuit continue to reiterate and apply this principle in
 2   the Rule 702 context.1 And following the recent amendments to Rule 702, exclusion
 3   of opinions—like Dr. Zona’s—that are based on economically irrational assumptions
 4   is even more compelled. See Fed. R. Evid. 702 Advisory Committee Note to the 2023
 5   amendment (“[M]any courts have held that the critical question[] of the sufficiency
 6   of an expert’s basis . . . [is a] question[] of weight and not admissibility. These rulings
 7   are an incorrect application of Rules 702 and 104(a).”).
 8              Plaintiffs have not met their burden to show that Dr. Zona’s testimony rests on
 9   rational economic assumptions about Defendants’ behavior. See Sundance Image
10   Tech., Inc. v. Cone Editions Press, Ltd., 2007 WL 935703, at *4 (S.D. Cal. Mar. 7,
11   2007) (“The party offering the expert bears the burden of establishing that Rule 702
12   is satisfied.”). Under the NFL’s agreement with DirecTV during the class period, the
13   NFL granted DirecTV exclusive distribution rights for Sunday Ticket and charged
14   DirecTV a single lump-sum annual fee for those rights (referred to below as a “fixed-
15   fee approach” for short). Pastan Decl. Ex. 7, Expert Report of Ali Yurukoglu, dated
16   April 28, 2023 (“Yurukoglu Rep.”) ¶¶ 35–39. This licensing arrangement was
17   economically rational in the context of a single distributor. See id.
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       See, e.g., United Food & Com. Workers Loc. 1776 & Participating Emps. Health
25   & Welfare Fund v. Teikoku Pharma USA, 296 F. Supp. 3d 1142, 1179–80 (N.D. Cal.
     2017) (holding that “in the experts’ competing testimony about the but-for world,
26   only opinions that are economically rational may be provided,” and excluding expert
     testimony that did not meet this standard); In re HIV Antitrust Litig., 656 F. Supp. 3d
27   963, 1006 (N.D. Cal. 2023) (internal citation and quotation marks omitted)
28   (“Antitrust cases presume the existence of rational economic behavior in the
     hypothetical free market.”).
                                                     3
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 3                                                                                       ECF No. 962-4,
 4   Expert Report of Daniel A. Rascher, dated February 17, 2023 (“Rascher Rep.”)
 5   ¶ 418; Pastan Decl. Ex. 7, Yurukoglu Rep. ¶ 36; ECF No. 962-10, Expert Report of
 6   B. Douglas Bernheim (“Bernheim Rep.”) ¶ 330.
 7

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10                  See ECF No. 962-10, Bernheim Rep. ¶¶ 45–46; Pastan Decl. Ex. 7,
11   Yurukoglu Rep. ¶¶ 25, 36.
12

13

14                                               See Pastan Decl. Ex. 7, Yurukoglu Rep.
15   ¶¶ 35–41.
16           Yet in the face of this real-world behavior, Dr. Zona does not even consider
17   the possibility that the NFL might shift to a per-subscriber approach if it were to
18   license Sunday Ticket to multiple distributors like other sports leagues. See ECF No.
19   962-34, Rep. ¶ 67 (
20

21                                                                                  ); Pastan Decl. Ex.
22   8, Zona 6/23/23 Dep. Tr. 357:8–17(
23

24

25                                       ). The result is that Dr. Zona assumes—without
26   analysis—that in the but-for world, the NFL would
27               in using an economically irrational fixed-fee approach with multiple
28   distributors.
                                                4
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 1           His model should thus be excluded because Plaintiffs cannot meet their burden
 2   to establish under Rule 702 that Dr. Zona’s analysis is based on the assumption that
 3   the NFL will act rationally in the but-for world. See, e.g., Murphy Tugboat, 658 F.2d
 4   at 1262; see also Concord Boat Corp. v. Brunswick Corp., 207 F.3d 1039, 1056–57
 5   (8th Cir. 2000) (district court should have excluded expert’s opinion because it “did
 6   not incorporate all aspects of the economic reality of the [relevant] market”).
 7           The economic irrationality of Dr. Zona’s unquestioning fixed-fee assumption
 8   is all the more glaring because his own model shows that
 9                                                                                       See Pastan Decl.
10   Ex. 7, Yurukoglu Rep. ¶¶ 43–47 & Fig. 8 (
11

12                                                                          ). His failure to consider
13   whether the NFL would switch to a per-subscriber approach in the but-for world thus
14   reflects a results-driven, “cherry-picking approach” to the assumptions on which his
15   model is based, which “is at odds with principles of sound science.” In re Mirena Ius
16   Levonorgestrel-Related Prods. Liab. Litig. (No. II), 341 F. Supp. 3d 213, 296
17   (S.D.N.Y. 2018); see also In re Bextra & Celebrex Mktg. Sales Pracs. & Prod. Liab.
18   Litig., 524 F. Supp. 2d 1166, 1176 (N.D. Cal. 2007) (similar).
19
     II.     Dr. Zona’s T&V Model Should Be Excluded Because It Fails To Model
20           Demand For Sunday Ticket Reliably.
21           Dr. Zona’s main model—the Transaction and Viewership or “T&V” model—
22   is designed to
23                                                                                         . ECF No. 962-
24   34, Rep. ¶ 8; Pastan Decl. Ex. 7, Yurukoglu Rep. ¶ 12. Although Dr. Zona has
25   updated this model since the class certification stage, it still contains unreasonable
26   assumptions and generates irrational outcomes.
27           One of these errors in particular is fatal to Dr. Zona’s model under both the
28   revised Rule 702 and recent case law from this circuit: Dr. Zona’s model
                                                 5
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  1                                                                     Dr. Zona used a logit model
  2   to analyze
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  4                                             . See Pastan Decl. Ex. 8, Zona 6/23/23 Dep.
  5   Tr. 453:17–24; Pastan Decl. Ex. 7, Yurukoglu Rep. ¶ 69. Dr. Zona admitted at
  6   deposition, however, that individuals’ viewing preferences vary within                                , see
  7   Pastan Decl. Ex. 6, Zona 10/13/22 Dep. Tr. 219:13–15, and Dr. Yurukoglu
  8   demonstrated how significantly those preferences vary, Pastan Decl. Ex. 7,
  9   Yurukoglu Rep. ¶¶ 69–73 & Figs. 12–13.
 10           Instead of accounting for differing viewing preferences among fans, Dr.
 11   Zona’s
 12

 13                                                         Pastan Decl. Ex. 7, Yurukoglu Rep.
 14   ¶ 71. For example, consider a Sunday on which the Rams, Chargers, and Cowboys
 15   each are playing games available on television in Los Angeles. Dr. Zona’s model
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 19                                             Id. ¶ 71 & Fig. 12.
 20           This property of Dr. Zona’s logit model is what is known as the “independent
 21   of irrelevant alternatives,” or “IIA,” property. Pastan Decl. Ex. 7, Yurukoglu Rep.
 22   ¶ 71. This is the precise error that recently led Judge Donato to exclude the testimony
 23   of plaintiffs’ economic expert in the Google Play litigation. In re Google Play Store
 24   Antitrust Litig., 2023 WL 5532128, at *6 (N.D. Cal. Aug. 28, 2023). The use of a
 25   model with the IIA property is permissible only in certain circumstances. As Judge
 26   Donato explained, such a model is sufficiently reliable to be admitted into evidence
 27   only in situations in which consumer substitution follows a particular pattern; the
 28   model only works where “the consumer will necessarily switch to a different
                                                  6
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  1   [product] in the same category, based purely on the popularity of those other
  2   [products].” Id. at *8. If this assumption does not correspond with real-world
  3   preferences, then “imposing” this restriction of “proportionate substitution through
  4   the logit model can lead to unrealistic forecasts.” Id. (quoting an economic treatise).
  5           Dr. Zona has acknowledged that it is problematic to use a logit model (the type
  6   of model he used) where the IIA condition is not satisfied. Pastan Decl. Ex. 7,
  7   Yurukoglu Rep. ¶ 71 & n.83 (quoting Dr. Zona’s academic work that the IIA property
  8   “restrict[s] unduly the pattern of consumer preferences” and “has been tested and
  9   rejected numerous times in the discrete choice literature”). Dr. Zona cannot now
 10   ignore his own published work. For the IIA condition to be satisfied, “all                                    in
 11   a given                  must be substitutes for each other, and must be substitutes in
 12   proportion to their share”                                                          Google Play, 2023
 13   WL 5532128, at *6. Dr. Yurukoglu
 14

 15   Pastan Decl. Ex. 7, Yurukoglu Rep. ¶¶ 71–73.
 16           Because this IIA condition is not satisfied in the market for out-of-market NFL
 17   games, the case law, the relevant economic treatise, and Dr. Zona’s own admissions
 18   confirm that the logit model is unreliable and should be excluded. See Google Play,
 19   2023 WL 5532128, at *8 (internal quotations and citation omitted) (“[T]astes that
 20   vary systematically with respect to observed variables can be incorporated in logit
 21   models, while tastes that vary with unobserved variables or purely randomly cannot
 22   be handled. . . . [I]f taste variation is at least partly random, logit is a
 23   misspecification.”); Pastan Decl. Ex. 7, Yurukoglu Rep. ¶ 71 & n.82 (explaining this
 24   error and citing the same academic treatise relied upon in the Google Play decision);
 25   id. ¶¶ 71–73 (explaining why Dr. Zona’s model is mis-specified).
 26           This is just one example of many that pervades Dr. Zona’s work. His models
 27   incorporate unjustified assumptions and modeling limitations, and also involve
 28   customers engaging in fundamentally irrational behavior,
                                                      7
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  1          See, e.g., Pastan Decl. Ex. 7, Yurukoglu Rep. ¶¶ 80–82, 90–92; see also ECF
  2   No. 680-1,
  3               These outcomes warrant exclusion.
  4
      III.    The Conjoint Model’s Reduction Factors Should Be Excluded Because
  5           Their Inputs Are Cherry-Picked To Achieve Plaintiffs’ Desired Result.
  6           Dr. Zona’s second model—the Conjoint model—is also unreliable for a
  7   number of reasons. See ECF No. 680-1                                                             The most
  8   glaring flaw is the impermissibly
  9                                                              (what he calls reduction factors).
 10   Cherry-picking inputs to generate favorable results is a classic ground for exclusion
 11   of expert testimony. E.g., Rearden LLC v. Walt Disney Co., 2021 WL 6882227, at *7
 12   (N.D. Cal. July 12, 2021) (rejecting expert testimony where expert “focus[ed] only
 13   on the data that supports the hypothesis and ignore[d] the data that undermines it”);
 14   In re Bextra, 524 F. Supp. 2d at 1176 (excluding opinion because expert “first
 15   identif[ied] his conclusion . . . and then cherry-pick[ed] observational studies that
 16   support[ed] his conclusion and reject[ed] or ignor[ed] the great weight of the
 17   evidence that contradict[ed] his conclusion”). Dr. Zona’s Conjoint model’s reduction
 18   factors should be rejected on this basis.
 19           To calculate but-for world prices in his Conjoint model,
 20

 21

 22                                                                        ECF No. 962-34, Zona Rep
 23   ¶ 93 & Ex. 20.
 24                                       Id.
 25           In the real world, although DirecTV offered Sunday Ticket at a list price of
 26   $295 per year, Dr. Zona
 27

 28   Pastan Decl. Ex. 7, Yurukoglu Rep. ¶ 16 n.27. Because Dr. Zona’s Conjoint model
                                                     8
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  1   generates the
  2                , see Pastan Decl. Ex. 8, Zona 6/23/23 Dep. Tr. 428:15–429:3, 431:6–17,
  3   432:14–20, the only appropriate price comparison would be between (i) the Conjoint
  4   model’s                                                        and (ii) the actual-world
  5                                             , Pastan Decl. Ex. 7, Yurukoglu Rep. ¶ 56. That
  6   appropriate comparison would indicate                                    under the Conjoint model—
  7   but that is not the comparison that Dr. Zona calculates.
  8           That error is even more indefensible given how Dr. Zona treats the same issue
  9   in the context of his V&T model. In that separate model, Dr. Zona
 10                                                                                                             Pastan
 11   Decl. Ex. 7, Yurukoglu Rep. ¶ 81 & Fig. 15. Dr. Zona offered no explanation for why
 12   the same comparison was not appropriate in the Conjoint model, and he otherwise
 13   failed even to attempt to justify his comparison to list prices. See Pastan Decl. Ex. 2,
 14   Expert Reply Report of J. Douglas Zona (“Reply Rep.”) ¶¶ 63–64.
 15           There is no principled justification for Dr. Zona’s decision to use inconsistent
 16   measures of real-world prices in calculating reduction factors in his two models.
 17   Pastan Decl. Ex. 7, Yurukoglu Rep. ¶ 56. There is, however, a results-driven
 18   motivation to do so: as noted above,
 19

 20

 21                                 Id. ¶ 56 & Fig. 10. Dr. Zona’s use of                                              to
 22   calculate his Conjoint model reduction factors thus reflects either an elementary
 23   mistake or an impermissible cherry-picking approach that “is at odds with principles
 24   of sound science.” In re Mirena Ius, 341 F. Supp. 3d at 296. In either event, this error
 25   warrants exclusion of the conjoint model.
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  1   January 5, 2024                    Respectfully submitted,

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      Case No. 2:15-ml-02668-PSG (SKx)   NFL Defendants’ Motion In Limine No. 6 To Exclude Certain Opinions of
                                         J. Douglas Zona
